Case 1:08-cv-07252-PGG Document 63 Filed 04/20/10 Page 1 of 4

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Plaintiff,

-against-

Defendant.

USDC SDNY

DOCUMENT

ELECTRONICALLY FILED

DOC #: Z

DATE FILED: 4/2040
Ln eet ae rn

08 CIVIL 7252 (PGG)

JUDGMENT

ff eC PEL 9

A Jury Trial before the Honorable Paul G. Gardephe, United States District Judge, having

begun on April 12, 2010, and at the conclusion of the trial, on April 15, 2010, the jury having

rendered a verdict in favor of the plaintiff in the amount of $50,000.00 for Compensatory Damages

and $ 250,000.00 in Exemplary Damages, it is,

ORDERED, ADJUDGED AND DECREED: That the plaintiff have judgment

in the sum of $ 300,000.00 as against the defendant.

DATED: New York, New York
April 16, 2010

So Ordered:

U.S.D.J.

J. MICHAEL McMAHON

Clerk of.Court

Deputy Clerk
Case 1:08-cv-07252-PGG Document 63 Filed 04/20/10 Page 2 of 4

Extract of Minutes
United States District Court

Southern District of New York

we a ne ee ee eee KX
Le / LN . } ' -
i ’ “77 !
ot i 2 Lose
BONE Nba Scr Fe ENO)
Docket #
V. .f
PID te
4 i Oye ep Judge
Poa dd eens Meta TP, / .
i 1 | i
pr pa ho be hi :
so or ee ee ee xX

( full title of case required, use other side if necessary)

Appearences : ( PLEASE INCLUDE FIRM NAME & TELEPHONE NUMBER)

Plaintiff: 13.0.

x, it } ‘
Defendant Ney baa “Ve li uy Mgr (dt, lh. Dest ir AA ida! !
PLS cea RUE Stee) te, ie
tye Ge) PAR Sine

TRIAL: (oxy) (NON-JURY) BEGUN : d/ 2| 1D

(DATE)
“hes t Vee MES i> at “Sa Se fue + Cin eae?
t Ts Tt S
et tet iy Pg . _ a ot Givcl e Keune I a Anfiarggg Cai
Ble fete é ok f _2: \ ior Ww : é
at : “i
. a,
* —r *
ew .
*
. ¥ .
é . ,
. .
.
. ” +
_* . a “4 i
CLERK oa, , Mh lata. | bouewoor.

COURT REPORTER Vs a Utter

Case 1:08-cv-07252-PGG Document 63 Filed 04/20/10 Page 3 of 4

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VLAD LYUBOVNY p/k/a “DJ VLAD”,
VERDICT SHEET

Plaintiff,

- against - 08 Civ. 7252 (PGG)

WILLIAM LEONARD ROBERTS II p/k/a “RICK
ROSS”,

Defendant.

The jury hereby unanimously makes the following findings:
LIABILITY

1. Has Plaintiff Lyubovny proven by a preponderance of the evidence that
Defendant Roberts is liable for the August 10, 2008 assault?

/

YES NO

If your answer to Question | is NO, answer no further questions. The
foreperson should sign and date this form, place it in an envelope, and
inform the Marshal that the jury has reached a verdict.
If your answer to Question 1 is YES, continue to the next question.
DAMAGES
2. Do you find that Plaintiff Lyubovny is entitled to compensatory damages?

YES Yo NO

If “YES” to Question 2, state the amount that should be awarded.

Amount: $: _$9¢ 20: ee -
If your answer to Question 2 is NO, answer no further questions. The
foreperson should sign and date this form, place it in an envelope, and

inform the Marshal that the jury has reached a verdict.

If your answer to Question 2 is YES, continue to the next question.
Case 1:08-cv-07252-PGG Document 63 Filed 04/20/10 Page 4 of 4

3. Do you find that Plaintiff Lyubovny is entitled to exemplary damages?

YES ¥ NO

If “YES” to Question 3, state the amount that should be awarded.

Amount: $. / 28%) 2¢0- 02

If your answer to Question 3 is NO, answer no further questions, The
foreperson should sign and date this form, place it in an envelope, and
inform the Marshal that the jury has reached a verdict.

If your answer to Question 3 is YES, continue to the next question.

SPECIAL VERDICT QUESTIONS

4. Did the assault on Mr. Lyubovny cause him serious bodily injury? The jury
should understand the term “serious bodily injury” to mean bodily injury that
creates a substantial risk of death or that causes death, serious permanent

disfigurement, or protracted loss or impairment of the function of any bodily
member or organ.

YES NO x
Continue to Question 5 regardless of your answer to Question 4.
5. Did the assault on Mr. Lyubovny involve the use of a deadly weapon? The jury
should understand the term “deadly weapon” to mean anything that in the manner

of its use or intended use is capable of causing death or serious bodily injury,

YES — NO

After completing this form, the Foreperson should sign and date it, place itn an
envelope, and inform the Marshal that the jury has reached a verdict.

Dated: dis re [Wr

Signature of Foreperson

